     PROOF OF CLAIM
     ATTACHMENT
     Version 2.1
     Estimates are based on January 26 - 28, 2019, market prices.


            CREDITOR: Andrea Sharp
                      268 Bush Street #2520
                      San Francisco CA 94104
                      “Clementine49” and “Clementine Fortinein”
               DEBTOR: GigaWatt
                       1250 N Wenatchee Ave., Suite H #147
                       Wenatchee WA 98801
      CASE NUMBER: 2:2018bk03197




     January 28, 2019

     Andrea (“Annie”) Sharp




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 SOME GENERAL INFORMATION
 As a creditor in GigaWatt’s Chapter 11 Bankruptcy, I (Andrea Sharp) am including this
 document with, and as factual support for, the proof of claim I’m submitting to the Eastern
 District of Washington Bankruptcy Court.

 Some notes:
 1. Five miners of the 17 miners I bought from GigaWatt were installed for earnings to my
    GigaWatt account.
 2. 12 of the 17 miners I bought were not installed to my account. I don’t know if they were
    installed for credit to an account other than mine.
 3. Percentage of tokens rented out for credit to my account went from low to nearly zero
    around October of 2018 before later going fully to zero.
 4. BTC earnings started 11/17/2017; earnings of all the other currencies started 12/29/2017.
 5. Exact value of total earnings is extremely difficult to calculate because the market price of
    the coins that produced my micro-earnings changed a lot over the period considered in
    this bankruptcy. A precise calculation of my earnings would be based on what the value of
    each micro-earning was on the date/time it was earned.
 6. I’d like to add a comment to my answer to Question 9 in the proof of claim form. It’s my
    understanding that it’s not yet clear if GigaWatt’s debt to people who purchased WTT
    tokens from them is secured or unsecured debt. It’s my understanding that reasons the
    answer to this question isn’t clear include the facts that the WTT tokens fit the SEC’s
    definition of securities, and the debt may be secured by the creditors’ 50-year lease with
    the debtors. With that in mind, since we may find going forward that GigaWatt’s debt to
    me is secured rather than unsecured, I’d like to know if I can respectfully request the right
    to not permanently define myself as an “unsecured” creditor by submitting this proof of
    claim. I hope I won’t have to continue to have an “unsecured creditor” designation if, at
    some time in the future, the bankruptcy or any other procedure or lawsuit leads
    authorities who are overseeing this matter to the conclusion that my debt is secured, not
    unsecured.




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 Screenshot 1. Dashboard of my GigaWatt Account in January, 2019, shows All Time
 earnings, the five (of 17) installed miners, and all of my WTT tokens.




 Screenshot 2. Close-Up of All-Time Earnings to January, 2019. (BTC Earnings from
 November 17, 2017; Other Coins’ Earnings from December 29, 2017.)




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 PRINCIPAL AMOUNT DUE
 The total principal amount due is 137,969.98 USD. This doesn’t include additional charges that
 are also due and listed below in the “Additional Amounts Due” section starting on page 15.

 The principal amount of 137,969.98 USD was determined by
    1. adding the cost of 105,139 WTT tokens to
    2. the cost of 17 miners and
    3. subtracting from that sum an estimated earnings amount of 11,995 USD which is the
        current USD value of the crypto generated by some of the tokens and five of my 17
        miners and
    4. adding 10% interest to the remainder.

 See Table 1.

   QTY                                                            ITEM           USD AMOUNT
   105,139                                            WTT Tokens                             111,945
   17                                                        Miners                            34,808
                                                          Subtotal                         146,752.85
   See Table 5        Minus Estimated USD Earnings (current market)                        -11,995.06
   on page 14
                                                               Subtotal                    134,757.94
                    (Source: http://ijcalc.sdcourt.ca.gov/) 10 % Interest                    3,212.04
                                      from Nov 1, 2018, to Jan 27, 2019
                   TOTAL OF PRINCIPAL AMOUNT DUE                                        137,969.98
  Table 1. Principal Amount Due as of January 26, 2019, is 137,969.98 USD



 TOKENS – COST 111,945 USD

   Total number of tokens purchased:          101,700
  Total number of tokens from bonus:          3,439
        Total cost of my WTT tokens:          111,945 USD
  Average price paid per WTT token:           1.10 USD
 Average price including bonus tokens:        1.065 USD
   Price of WTT on January 27, 2019:          .015 US cents
                  Amount of decrease:         98.6% (See Table 7 on page 25,)
  24-hour trade volume is in the 100s:        See https://www.coingecko.com/en/price_charts/giga-watt-token/usd


 I purchased all tokens from GigaWatt in the GigaWatt ICO. I didn’t purchase any on the open
 market.


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 Screenshot 3 and Table 2 on page 4 show the dates I purchased the tokens and the amount I
 paid.




 Screenshot 3. Token Purchase Dates and Prices Listed in my Cryptonomos Account



            Date & Time                   Amount          $ Purchase Rate     Total Price USD
     02/13/2018 8:50 AM                     3439                        0                    0
     07/31/2017 3:44 PM                    34399                     1.20             41,278.8
     06/27/2017 3:22 AM                    66300                     1.05               69,615
     06/27/2017 3:16 AM                     1000                     1.05                1,050
    06/26/2017 11:45 PM                        1                     1.05                 1.05
                                                                            TOTAL: 111,944.85
 Table 2. WTT Token Purchase Dates, USD Prices




 Screenshot 4 on page 5 shows the tokens I purchased as they were listed by Cryptonomos
 on my Cryptonomos dashboard.

 Screenshot 5 on page 6 shows them in my GigaWatt account after I transferred them all to
 GigaWatt from Cryptonomos.




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 Screenshot 4. ICO Token Purchases Through Cryptonomos




 The page shown in Screenshot 4 refers to GigaWatt’s deal with token purchasers that
 the purchase shown on the same page includes “50-year rent-free access to GigaWatt
 processing center. From the first day of token issue.”




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 Screenshot 5. GigaWatt Dashboard – 7,275 of 105,139 Tokens Rented for Five Miners

 Screenshot 5 also shows my 105,139 tokens, and that 7,275 of them were used for rental fees
 to GigaWatt for GigaWatt’s hosting of my five miners.

 A Promised 10-Percent Token Bonus Was 3.38 Percent

 To apologize for missing the first construction and deployment deadlines, GigaWatt
 announced on December 9, 2017, that they’d be issuing a token bonus of 10%. Their message
 said, “We'd like to offer you a bit of a bonus for this delay - we will issue you 10% additional
 tokens as gratitude for your continued patience.”

 At that time, I owned 101,700 tokens. A bonus of 10% would have added 10,170 to the
 number of tokens I owned, for a total of 111,868.9 tokens.

 But what I received were 3439 additional tokens. That’s 3.38% of 101,700, not 10%.
 Screenshot 6 and Table 2 on page 4 show I purchased all my tokens before August 1, 2017.
 The bonus was credited to my account on February 13, 2018. So Screenshot 7 and Table 2
 on page 4 also show that the 10% was based only on the 34,399 tokens I bought on July 31,
 2017, and didn’t include any of the tokens I bought before that.

 I didn’t complain about what appears to be an error. But I did write a message to GigaWatt
 about a different related problem that said, “My ten percent bonus was credited to my
 Cryptonomos account. Then it was removed. Was this intentional? If so, can you please

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 explain?” I don’t find a reply from Cryptonomos or GigaWatt to my question. Maybe they
 credited me with 10%, then removed it, and then just replaced part of it.



 MINERS – COST 34,808 USD
 See Table 3 for a list of the quantity of miners I purchased, the model names, the purchase
 dates, and the cost.

 See Table 4 for the dates five of them were deployed for credit to my account.

 Receipts and payment confirmations for my 17 miners are shown in Screenshot 6, Screenshot
 7, Screenshot 8, Screenshot 9, and Screenshot 10.


  Qty      Model                Date Purchased        USD Cost (including sales tax)
  5        Antminer S9s         June 28, 2017                                      8,010


  10       Antminer S9s          November 23, 2017                                20,200


  2        Alpha 200s           December 1, 2017                                   6,598


                                                     Total cost of 17 miners: 34,808
 Table 3. Miner Models, Purchase Dates, and Cost

 I purchased 17 miners. Five were put into operation for earnings to my account on
 November 17, 2017. Twelve have not been put into operation for earnings to my account; I
 don’t know if they were put into operation for earnings to an account other than mine.

 See Table 4.

  Qty      Model                Date Purchased         Date of Deployment
  5        Antminer S9s         June 28, 2017          November 17, 2017


  10       Antminer S9s         November 23, 2017      Not done so far. First planned
                                                       deployment date was over a year ago.

  2        Alpha 200s           December 1, 2017       Not done so far. First planned
                                                       deployment date was over a year ago.
 Table 4. Miners Purchased, Date Purchased, and Date Deployed Unless Not Deployed

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 I also paid fees to GigaWatt for hosting the five of my 17 miners that they did put into
 operation for my account. The total cost of fees from November 17, 2017, to December 20,
 2018, is -0.42337418 BTC. The USD price of BTC ranged during that time from over 19,000
 USD to about 3,200 USD. The amount of these fees was deducted from the BTC earnings
 discussed in this document.




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 Screenshot 6. Receipt For First Five S9 Antminers

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 Screenshot 7. Receipt for Ten More S9 Antminers




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 Screenshot 8. Receipt for Same Ten S9 Antminers

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 Screenshot 9. Receipt for Two Alpha 200s



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 Screenshot 10. Receipt for Same Two Alpha 200s and Ten S9s




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 ESTIMATED EARNINGS BASED ON CURRENT MARKET - 11,995.06 USD
  ESTIMATED EARNINGS FROM MINING AND TOKEN RENT
  Credited
  to (or                                                                            Approximate
  deducted                                                        Approximate       USD value of
  as fees                                                         USD price of      Amount
  from) my                                       Amount           one coin as of    Earned as of
  account         Source       When              Earned           Jan 27, 2019      Jan 27, 2019
  BTC             Mining       11/17/2017        1.98729617       1 BTC: 3593.07             7140.49
                  rewards      to                BTC
                  (5 miners)   01/26/2019
  BTC             GW’s         11/17/2017        (0.42337418)     1 BTC: 3593.07           (1521.21)
  (deducted       miner-       to                BTC
  for GW          hosting fees 01/26/2019
  hosting fees)   (5 miners)
                             Mining subtotals    1.56392199                                 5619.28
  BTC             WTT-         12/29/2017        1.1397815        1 BTC: 3593.07            4095.31
                  token-       to                BTC
                  rental       01/14/2019
                  earnings
  DASH            WTT-         12/29/2017        12.66544853      1 DASH: 71.95              911.28
                  token-       to                DASH
                  rental       11/11/2018
                  earnings
  ETH             WTT          12/29/2017        5.558066356      1 ETH: 114.96              638.96
                  token-       to                ETH
                  rental       01/25/2019
                  earnings
  LTC             WTT          Started Dec       22.1887288       1 LTC: 32.91               730.23
                  token-       29, 2017,         LTC
                  rental       slowed Oct
                  earnings     2018,
                               stopped Dec
                               9, 2018
  (At CoinMarketCap.com’s listed USD prices of each coin on Jan 27, 2019)   TOTAL        11,995.06
 Table 5. Estimated Earnings as of Late January, 2019 (Also see Screenshot 2 on page 2.)

 The amount of this estimate has been credited toward the debt in the claim made herein.

 The value of the currencies shown in Table 5 is based on current market prices. The
 currencies’ value fluctuated a lot during the period assessed in this document. So if
 calculations were based on earlier prices, they’d probably be higher. This document’s
 calculations of amounts due are also based on current market prices, so the amounts due
 would also probably be higher if their calculation were based on earlier prices.



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 ADDITIONAL AMOUNTS DUE


 AMOUNT DUE FOR UNDELIVERED PRE-PAID SERVICES

 As of January 29, 2019, the estimated value of undelivered services for pre-paid 50-year lease
 and miner operations is 1,935,083.19 USD.

 That’s the sum of these two amounts:

      Estimated value of Undelivered Pre-Paid 50-Year Lease: 1,883,296.87
      Estimated value of Undelivered Miner Earnings: 51,786.32

 The following sections explain how these amounts were calculated.



 METHOD OF CALCULATION – PRE-PAID LEASE (TOKEN PURCHASE)
 – 1,883,296.87 USD

 Following are the steps I took to estimate earnings due to me for the undelivered 50-year
 lease with GigaWatt. I paid $111,945 in advance for this lease by purchasing GigaWatt’s utility
 tokens called WATT (ticker: WTT).

 Calculated the length of time left on the 50-year lease.
                   i. 50 years * 12 Months = 600 months
                  ii. Past months of operation (Sept 1, 2017 to December 31, 2018): 161
                 iii. 600 months minus 16 months = 584
                     iv.   584 = remaining months of pre-paid lease term

 Estimated average amount of tokens that would be in operation to be 80%.

 Calculated average rental rate based on the average that GigaWatt stated in its white
 paper would be the earnings range, i.e. 4.2 to 6.45 per kWhr:
                      (4.2+6.45)/2 = average of 5.325 cents/kW/h

 1
  Actual number of past months of operation is lower, since no income was generated until November 17, 2017,
 and income tapered off and essentially stopped around October/November 2018. The September 1 date is
 based on the first day WTT tokens were issued. The December 31, 2018, date, which extends the earnings
 period beyond October 2018 when earnings were steady, is for generous benefit-of-the-doubt leeway.

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 The 4.2 to 6.45 range was stated in the GigaWatt “White Paper,” in graphics on their
 website, and used in calculators it provided on its website during the ICO.

 Estimated daily income based on the average of GigaWatt’s stated range, namely
 5.325 cents/kW/h:
         1 month = 30 days * 24 hours * 5.325 US cents/kW/h = 38.34 USD

 Estimated what the income would be for every 1000 WTT I own if tokens were in
 operation and earning 5.325 cents/kW/h, 80% of the time, for 584 months:

 105,139 tokens / 1000 (WTT) = 105.139
 105.139 * 38.34 = 4031.02926
 4031.02926 * 584 = 2,354,121.08784
 2354121.08784 * 0.8 = 1,883,296.870272

 105,139 tokens /1000 (WTT) * $38.34 USD * 584 months * 0.8 (80%) = 1,883,296.87 USD.

 The above steps show that the value of the 50-year lease, which I paid GigaWatt for by
 purchasing tokens but is not being delivered, is at least 1,883,296.87 USD as of
 January 26, 2019.

 This number would be higher if a number closer to 100% for uptime were used rather than 80%.



 METHOD OF CALCULATION – MINERS – 51,786.32 USD AS OF 01/26/19
 Following are the steps I took to estimate earnings due to me as of January 26, 2019, for
 undelivered benefits from miner operations.

 Determined Amount Actually Earned. See page 14, “Table 5. Estimated Earnings .” It
 shows the total of my earnings (minus fees) for the five miners that were deployed for credit
 to my account for about one year and two months was 1.56392199 BTC 2. That’s about
 5,619.28 USD at the January 26, 2019, price of BTC. (The time period may have been shorter,
 but to be conservative I’m basing this estimate on the longer period, which results in a lower
 estimate of per-day earnings.)

 Determined Amount Actually Earned by Each Miner Over One Year, Two
 Months. Dividing 5,619.28 by five, we see each miner earned about 1,123.86 USD.


 2
  The earnings amount used here is based on current crypto prices (January 26, 2019), which are even lower
 than they were when the coins were earned. So I believe this estimate could be objectively viewed as quite
 conservative, especially if market prices of the coins these miners produce go up again.


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 Estimated Life-Span of Each Miner. To estimate earnings of 17 properly-functioning
 miners, I assumed a lifespan of three years and six months per miner. 3 I believe that’s realistic,
 and it also lets us simplify the arithmetic with three combined calculation periods of the same
 1-year-plus-2-months length that we’re basing actual earnings-information on.

 Determined Miner-Lifespan is 1260 Days.

 One year plus 2 months is 14 months. 14 months of 30 days each is 420 days. So there are
 420 days in each of the three periods.

 420 times three is 1260. So the total number of days in the 3-year, 6-month lifespan is 1260.

 The lifespan estimate I’ll use here for each miner is 1260 days.

 Calculated Daily and Monthly Earnings of Each Miner.

 DAILY: 2.68 USD. We know each one of the five miners that GigaWatt installed for my
 account actually earned about 1,123.86 USD in about 420 days. That’s about 2.68 USD per
 day per miner. (Would be higher if based on the higher prices when earnings happened.)

 MONTHLY: 80.40 USD. Multiplying 2.68 USD by 30 days of a month is 80.40 USD per month
 per miner.

 Calculated Earnings Over 3 Years, 6 Months. The following earnings estimate is based
 on the total number of days of the three 420-day periods combined, which is 1260, and on
 the total number of months in that period, which is 42.

 If my 17 miners were put into operation per the agreement I entered into and paid GigaWatt
 for, and each earned about 2.68 per day for 1260 days, then:

 17 * 2.68 * 1260 = 57,405.60 USD

 If my 17 miners were in operation as agreed and paid-for, and each earned about 80.40 per
 month for 42 months, then:

 17 * 80.40 * 42 = 57,405.60 USD

 Subtracted Amount Actually Earned. Subtracting 5,619.28 USD that was actually
 earned, we have an estimate of GigaWatt’s debt for undelivered paid-for service:
                       57,405.60 minus 5,619.28 = 51,786.32 USD4

 3
  The 3.5-year lifespan is for a miner in operation 80% of the time starting from November, 2017, as more
 powerful computers replace older ones.
 4
     I believe this estimate is quite a bit lower than what the miners’ earnings would actually be because 1) it’s based

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 Lower Price of BTC = Lower Estimate

 If the price of BTC used in the calculation were based on the higher prices of BTC at the time
 the crypto was earned, the resulting estimated earnings would be proportionately higher.




 [Footnote continuing from page 17] …on the earnings of five miners that were sometimes offline, so were not
 in full operation, and 2) the earnings estimate is spread out over what’s probably more time than the time period
 in which the actual earnings took place, and 3) I converted the value of the actual earnings to USD from the
 current price of BTC, which is on the low end of the BTC price range during an apparent bear market, and 4)
 the higher earnings-capacity of my two higher-capacity Alpha 200s, which would each produce more earnings
 than each of the S9s can, isn’t figured in to the estimate. For these and other possible reasons, it might be
 necessary to revise these estimates as further information about GigaWatt becomes available in the bankruptcy
 process.


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 TOTAL AMOUNT DUE
 Table 6 shows the minimum total amount of GigaWatt’s debt to me as of January 27, 2019.

                                                                          Item   USD Amount
 (Amount paid for miners and tokens minus current value of earnings) Principal      134,757.94
                                   Additional Charges: Interest on principal          3,212.04
            Additional Charges: Undelivered earnings from pre-paid lease          1,883,296.87
                Additional Charges: Undelivered earnings from 17 miners              51,786.32
                                                                      Total 2,073,053.17
 Table 6. Total Amount Due as of January 26, 2019




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 OTHER INFORMATION


 APPARENT CRIMES
 Crimes GigaWatt appears to have committed include:

      Misrepresentation,
      False advertising,
      Actual fraud,
      Constructive fraud,
      Accounting fraud,
      Negligence,
      Gross negligence,
      Embezzlement, and
      Other serious crimes.



 HOW GIGAWATT PREVENTED MOVING MY MINERS ELSEWHERE
 PRIOR TO LOCKOUT
 The estimate provided in this document of the amounts due does not include my losses from
 the 17 miners that could have been in productive use elsewhere during the time they’ve been
 sitting at GigaWatt doing nothing.

 The lockout was not announced until after it had already happened. There was no advance
 warning. Did GigaWatt know of no indication that this could happen in days and weeks
 before it did?

 Some time in November 2018, GigaWatt put a KYC PENDING notice on my account.

 At about the same time, they said that KYC had to be complete before they would let
 customers ship out their miners.

 I didn’t know of an alternative to GigaWatt for my miners until mid-December, 2018, at
 which time I started communication with TeslaWatt to have my miners shipped there.

 But I couldn’t ship them because of the KYC PENDING setting GigaWatt put on my account.

 I had started my effort to get KYC-verified on or before December 3, 2018, when I wrote to
 GigaWatt for instructions.


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 But a problem in GigaWatt's system prevented me from getting the KYC
 clearance done.

 I notified GigaWatt of the problem on December 5. Andrey replied on December 5 and
 6 by asking me questions that were unrelated to, and didn't solve, the problem.

 By December 18, the problem still had not been solved. I sent them a message on December
 18 to let them know the same problem was still there. I don't have a reply to this message if
 they sent one, but I don’t think they did.

 My subsequent email messages show that GigaWatt continued to keep my KYC verification
 status in "pending," even for several days after I notified them that Sum and Substance, the
 company that handles GigaWatt 's KYC clearances, had let me know that my KYC status with
 GigaWatt was already clear. This was probably before but no later than December 21.

 No later than December 22, 2018, I notified GigaWatt that Sum and Substance informed me
 that my KYC status was clear, and in the same message I notified GigaWatt that my GigaWatt
 account continued to say the my KYC Verification Status was pending.

 I corresponded with Sum and Substance several times, and they kept telling me my KYC
 status was already clear. My messages show that Sum and Substance checked three separate
 times, but the KYC PENDING setting on my GigaWatt account wasn’t adjusted. Sum and
 Substance told me to contact GigaWatt to have the problem fixed, which I had already been
 doing.

 Some time in early January -- about a full month after my first message to GigaWatt letting
 them know about the problem in their system that was preventing me from completing the
 KYC so I could receive my miners – GigaWatt finally removed the KYC PENDING setting
 from my account.

 In the meantime, I was able to find out what steps I needed to take to get my miners to
 TeslaWatt. On January 11, by email, I told GigaWatt to prepare my miners for shipping.

 All this time I had no idea that my miners could get locked up.

 So it was quite a surprise when, on January 15, I received an email from GigaWatt that said
 miners are all locked up and I now can’t get my miners out of there.

 With every passing day, my miners become less competitive in the work of solving the
 puzzles that result in crypto rewards and they'll soon be obsolete. And GigaWatt prevented
 me from getting them so I can put them to use elsewhere by keeping a KYC Pending notice
 on my account long after Sum and Substance had cleared me.

 If GigaWatt had not set my KYC status to PENDING, and had not left unsolved for so long
 the problem that prevented me from completing the steps for KYC clearance, I would have

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 been able to move my miners to TeslaWatt in early December, and they would have been
 put to work soon after arriving there.

 Twelve of the 17 miners I purchased from GigaWatt were never put into use for credit to my
 account. (I don’t know if they were put into use for credit to an account other than mine.)



  “YOUR MINERS ARE OFFLINE” NOTICES
 Only five of my 17 miners were put into operation. These five S9 miners went into operation
 on November 17, 2017.

 For the five operating miners, I received at least ten notices that "...workers in your account
 are offline." Subject heading "Giga Watt: Problem with some workers". (Where they say
 "workers," they mean "miners.")

 I didn’t receive automatic notices when the miners were back online. I had to write to ask.

 List of Offline Notices

 20180111 - 3 miners are offline notice
 20180111 - 1 miner is offline notice
 20180121 - 3 miners are offline notice
 20180315 - 1 miner is offline notice
 20180315 - 4 miners are offline notice
 20180322 1:09 pm- received a reply to my inquiry about status; so miners were down at least
 from 20180315 to 20180322.
 Inquired again on 20180324.
 On 20180327, received a reply that four of the miners were "back up and hashing."
 20180404 - 3 miners are offline notice
 20180404 - 1 miner is offline notice
 20180518 - 2 miners are offline notice
 20180518 - 3 miners are offline notice
 20181220 - 5 miners are offline notice



 QUESTION ABOUT NEGATIVE BALANCE ON S9 MINERS

 Is it possible for five robust S9 miners to go from steady positive balances for
 several months to negative balances when miners that are identical had no such
 change?

 On Thursday, October 25, 2018 10:04 PM, GigaWatt <no-reply@giga-watt.com> wrote:
 Unprofitable mining.
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 Hello,
 Your miner(s) are currently utilizing more hosting fees than rewards earned over the past 24 hours. If
 you would like to shut off your equipment please follow the link that is attached https://giga-
 watt.com/hardware
 Questions? Contact us

 I read posts and communicated with people online whose S9 miners at GigaWatt, which are
 the same as the ones I have at GigaWatt, and should be configured exactly as mine are, who
 said they owned S9s and that they were not "utilizing more hosting fees than rewards" but
 rather were generating more rewards than hosting fees.

 I also read that the kind of miners that don’t generate enough rewards to cover the hosting
 fee are called L3s and D3s. I don't own any miners of either of those brands. I purchased only
 the more powerful S9s and Alphas.


 I let GigaWatt know that I had read and communicated with GigaWatt customers during this
 same time period who own S9 miners that are identical to mine and who reported that their
 S9 miners were generating rewards that are higher than the amount of fees, similar to
 amounts they earned over the past year.

 I sent GigaWatt the following message on December 24, 2018.
 ~~~~~~~~~~~~~~~~~~~~~~~~~~
 On Monday, December 24, 2018 10:38 PM, Clementine49 <clementine49@protonmail.com>
 wrote:

 Dear Andrey and Giga-Watt,

 I would have written the following message to you earlier but I'm waiting for you to update on the
 Giga-Watt side that Sum and Substance has cleared my KYC status with you. They completed this a
 few days ago, but my Giga-Watt account still says KYC is pending.

 UNPOWERED MINERS:

 I think the reason you un-powered my miners (as reported in your message to me below) is because
 you also reported to me that the hosting fees exceeded the mining rewards.

 IDENTICAL S9s NOT NEGATIVE OR DISCONNECTED
 I should let you know that I know Giga-Watt customers who own S9 miners that are identical to mine
 and they say these S9 miners are generating rewards that are higher than the amount of fees, similar
 to amounts earned over the past year. They didn't receive any "negative balance" notices, and their
 miners are still working with a positive balance.

 BTC IN MY GIGA-WATT WALLET HAS ALWAYS BEEN MORE THAN NEGATIVE AMOUNT


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 Also, would like to let you know that the amount of BTC shown for the last 30 days on the front page
 of my account says BTC is -0.0007. But when I look at the BTC balance on the wallet page, it shows
 +0.00532206 BTC. So there's been more BTC in my BTC wallet than the amount of BTC that the
 main page says is owed to you during the time in which you un-powered my miners. (Not to mention
 that S9 miners are generating rewards for your other S9-miner-owner customers and haven't been
 disconnected.)

 COULD YOU PLEASE LET ME KNOW WHY...

 According to what I've read, your procedure is to deduct BTC in customers' wallets to cover negative
 balances. Could you please let me know why you didn't do that in my case? Also, why you find my S9s
 reaching a negative balance while identical S9 miners don't?

 I ADDED ADDITIONAL BTC TO MY GIGA-WATT WALLET -- SHOULD BE MORE THAN ENOUGH

 In case the reason you didn't just deduct BTC from my wallet for the negative balance is because you
 need more than the amount of BTC that was in my wallet (i.e. 0.00532288), I added 0.01467794
 BTC to my Giga-Watt BTC wallet today. That, plus the 0.00532288 BTC already there, comes to a
 total of 0.02000082 now in my Giga-Watt BTC wallet. Is that enough to take care of the negative
 BTC balance so my miners can be restored?

 SEND UPDATE/ANSWERS PLEASE

 Andrey, I hope you understand your customers' justified frustrations with Giga-Watt. I regret that the
 enormous gratitude and loyalty I had for the Giga-Watt opportunity hasn't endured either. Many good
 people put so much trust and faith in you. I would welcome an honest problem-solving/brain-storming
 conversation with all of you about all this if it weren't too late. Maybe something like that could have
 prevented what is now happening, with lawsuits, bankruptcy, and opposition, from happening.

 I look forward to receiving your reply.
 Annie
 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~


 On January 7, 2019, I received a reply from Andrey Kuzenny of GigaWatt which doesn't
 address my question. His message said:

 >Rewards depends from difficulty, hosting fee (depends from BTC rate).You can always check
 profitability of your miner here:
 https://www.coinwarz.com/calculators/bitcoin-mining-
 calculator/?h=13500.00&p=1455.00&pc=0.06&pf=0.00&d=5618595848853.28000000&r=12.5
 0000000&er=4114.90000000&hc=0.00

 >Please note that your BTC balance now : 0.02027222 , on the main dashboard page you can see
 only mining stats.

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 If you want to continue mining while mining is negative, you should have positive BTC balance.

 >Regards,
 >Andrey




 EFFECT OF GIGAWATT PROBLEMS ON PRICE OF WTT TOKENS




 Table 7. Chart of Drop in Resale Value of WTT to Virtually Zero 5




 5
  Source: https://www.coingecko.com/en/price_charts/giga-watt-token/usd (Note, CoinMarketCap.com delisted
 WTT but still loads a page for the token that displays obsolete information.)

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 GIGAWATT’S ADVERTISED DELIVERY DATES
 GigaWatt repeatedly promised delivery dates that were false. Screenshot 11 shows the
 delivery dates stated in their white paper. Many more false delivery dates were given later.




 Screenshot 11. One Example of Advertised Delivery Dates - May 2017 White Paper




 ADDITIONAL DOCUMENTATION IS AVAILABLE ON REQUEST
 Examples:
     Email correspondence.
     Additional information about GigaWatt’s advertisements of products and services.
     Additional information about GigaWatt’s promised delivery dates.
     Additional information about GigaWatt’s other contractual obligations.
     Additional information about crypto-currency and crypto-mining.

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         GigaWatt CSV files of transaction data. See “GigaWatt Records of Transactions” on
          page 28 for more information.




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 GIGAWATT RECORDS OF TRANSACTIONS
 I downloaded GigaWatt’s records of my account data and converted it to .pdf format. Either
 format can be provided to the court.

 But the .pdf of my account’s BTC .csv earnings and fees data is 708 pages long.

 The .pdfs of the other coins’ earnings data are each over 200 pages long.

 Because the ,pdf files are so long, I didn’t insert the CSV information into this proof-of-claim
 attachment document.

 Because they’re so long, I won’t upload these .pdfs to the court’s system when I upload the
 proof-of-claim form and this attachments document. But I will be happy to provide them at
 any time if requested.

 The totals shown in the CSV files do match the All Time earnings shown in Screenshot 2 on
 page 2 and Table 5 on page 14 of this document.

 The amounts reported in the CSV files were converted to USD at current market prices and
 credited toward the amount of debt in this claim.

 (But the CSV files also list the hundreds of micro-earnings that the totals come from, and
 that’s why they’re so long.)




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